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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

    TERRI LEE NICHOLS, individually and on                Case No.
    behalf of all others similarly situated,
                                                        CLASS ACTION
                    Plaintiff,
                                                        DEMAND FOR JURY TRIAL
    v.

    HOLADOCTOR, INC.

                    Defendant.



              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff Terri Lee Nichols (“Plaintiff” or “Nichols”) brings this Class Action Complaint

  and Demand for Jury Trial against Defendant HolaDoctor, Inc., (“Defendant” or “HolaDoctor”)

  and alleges as follows:

         1.      Telemarketing calls are intrusive. A great many people object to these calls, which

  interfere with their lives, tie up their phone lines, and cause confusion and disruption on phone

  records. Faced with growing public criticism of abusive telephone marketing practices, Congress

  enacted the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105 Stat. 2394

  (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a response to Americans

  ‘outraged over the proliferation of intrusive, nuisance calls to their homes from telemarketers’ id. §

  2(6), and sought to strike a balance between ‘[i]ndividuals’ privacy rights, public safety interests,

  and commercial freedoms’ id. § 2(9).

         2.      “The law opted for a consumer-driven process that would allow objecting

  individuals to prevent unwanted calls to their homes. The result of the telemarketing regulations

  was the national Do-Not-Call registry. See 47 C.F.R. § 64.1200(c)(2). Within the federal

  government’s web of indecipherable acronyms and byzantine programs, the Do-Not-Call registry
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  stands out as a model of clarity. It means what it says. If a person wishes to no longer receive

  telephone solicitations, he can add his number to the list. The TCPA then restricts the telephone

  solicitations that can be made to that number. See id.; 16 C.F.R. § 310.4(b)(iii)(B) (‘It is an abusive

  telemarketing act or practice and a violation of this Rule for a telemarketer to . . . initiat[e] any

  outbound telephone call to a person when . . . [t]hat person’s telephone number is on the “do-not-

  call” registry, maintained by the Commission.’)…Private suits can seek either monetary or

  injunctive relief. Id…This private cause of action is a straightforward provision designed to

  achieve a straightforward result. Congress enacted the law to protect against invasions of privacy

  that were harming people. The law empowers each person to protect his own personal rights.

  Violations of the law are clear, as is the remedy. Put simply, the TCPA affords relief to those

  persons who, despite efforts to avoid it, have suffered an intrusion upon their domestic peace.”

  Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).

         3.      Ms. Nichols brings this action to enforce the consumer-privacy provisions of the

  TCPA alleging that HolaDoctor violated the TCPA by making telemarketing calls to Plaintiff and

  other putative class members listed on the National Do Not Call Registry without their written

  consent.

         4.      Ms. Nichols also alleges that HolaDoctor uses automated systems to make

  telemarketing calls from Florida, and that by doing so, HolaDoctor has violated the provisions of

  the Florida Telephone Solicitations Act, Fla. Sta § 501.059.

         5.      The recipients of HolaDoctor’s illegal calls, which include Plaintiff and the

  proposed class, are entitled to damages and because the technology used by HolaDoctor makes

  calls en masse, the appropriate vehicle for their recovery is a class action lawsuit.




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                                              PARTIES

          6.     Plaintiff Terri Lee Nichols is an individual.

          7.     Defendant HolaDoctor, Inc. is a Georgia corporation with a principal place of

  business in Doral, FL.

                                  JURISDICTION AND VENUE

          8.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 47

  U.S.C. § 227 et seq. The Court has supplemental jurisdiction over the Florida Telephone

  Solicitations Act claims, as they arise out of the same telemarketing campaign as the TCPA claims.

          9.     This Court has specific personal jurisdiction over HolaDoctor because the company

  makes telemarketing calls from this District.

          10.    Venue is proper pursuant to 28 U.S.C. § 1391(b) because the telephone calls at

  issue were from this District and Defendant resides here.

                                          BACKGROUND

  The Florida Telephone Solicitations Act

          11.    The FTSA, Fla. Stat. § 501.059 was amended by Senate Bill No. 1120 on July 1,

  2021.

          12.    It is a violation of the FTSA to “make or cause to be made any unsolicited

  telephonic sales call to any residential, mobile, or telephonic paging device telephone number if

  the number for that telephone appears in the then-current quarterly listing published by the

  department.” This includes to a number listed on the National Do Not Call Registry. Fla. Stat. §

  501.059(4)

          13.    It is also a violation of the FTSA to “initiate an outbound telephone call, text

  message, or voicemail transmission to a consumer, business, or donor or potential donor who has




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  previously communicated to the telephone solicitor or other person that he or she does not wish

  to receive an outbound telephone call, text message, or voicemail transmission.” Fla. Stat. §

  501.059(5)

         14.     A “telephonic sales call” is defined as a “telephone call, text message, or

  voicemail transmission to a consumer for the purpose of soliciting a sale of any consumer goods

  or services, soliciting an extension of credit for consumer goods or services, or obtaining

  information that will or may be used for the direct solicitation of a sale of consumer goods or

  services or an extension of credit for such purposes.” Fla. Stat. § 501.059(1)(i).

         15.     Pursuant to § 501.059(10)(a) of the FTSA, damages are available at a minimum

  of $500.00 for each violation.


         The TCPA Prohibits Calls to Numbers on the National Do Not Call Registry.


         16.     The TCPA prohibits the making of more than one call within any 12-month

  period to a residential telephone number not used for business that has previously been registered

  on the National Do Not Call Registry. See 47 U.S.C. § 227(c)(5).

         17.     The National Do Not Call Registry allows consumers to register their residential

  telephone numbers and thereby indicate their desire not to receive telephone solicitations at those

  numbers. See 47 C.F.R. § 64.1200(c)(2)

         18.     A listing on the National Do Not Call Registry “must be honored indefinitely, or

  until the registration is cancelled by the consumer or the telephone number is removed by the

  database administrator.” Id

         19.     The TCPA and implementing regulations prohibit the initiation of telephone

  solicitations to people who have registered their residential numbers on the Registry and provide




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  a private right of action against any entity that makes those calls or “on whose behalf” such calls

  are promoted. 47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

                                     COMMON ALLEGATIONS

          20.    Defendant HolaDoctor offers health insurance services for GoHealth, an insurance

  marketplace company

          21.    To promote its services, Defendant HolaDoctor sends automated calls to hundreds

  if not thousands of consumers across the U.S., including to consumers whose phone numbers are

  listed on the National Do Not Call List.

                                   PLAINTIFF’S ALLEGATIONS

          22.    Plaintiff Nichols is the subscriber and the sole user of the phone number 757-xxx-

  3765.

          23.    Plaintiff Nichols registered her phone number on the Do Not Call Registry on

  March 30, 2022.

          24.    Nonetheless, the Defendant contacted the Plaintiff on June 10, 16 (twice) and 17,

  2022.

          25.    All of the calls were sent by an automated call system, as evidenced by the fact that

  the Plaintiff heard a distinct click and pause after picking up the phone and an elongated delay

  prior to hearing a response from the call recipient after she said “hello”.

          26.    Moreover, most of the calls were “spoofed” with Caller IDs to make it appear that

  the calls were local, despite the fact that they were not.

          27.    In order to “spoof” a Caller ID, automated equipment is required.

          28.    During the first three calls, the Defendant identified itself as calling about Medicare

  coverage and inquired if the Plaintiff was interested.




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         29.     The Plaintiff terminated the calls because she was not interested.

         30.     On the fourth call, the Plaintiff answered and the Defendant asked if she would be

  interested in health insurance, making similar inquiries that they did on the first three calls.

         31.     On this call, the Defendant transferred the Plaintiff to “Kylie” at GoHealth, who

  continued the solicitation.

         32.     The unauthorized telephonic sales calls that Plaintiff received from Defendant, as

  alleged herein, have harmed the Plaintiff in the form of annoyance, nuisance, and invasion of

  privacy, and disturbed the use and enjoyment of her phone, in addition to the wear and tear on the

  phone’s hardware and the consumption of memory on the phone.

         33.     Seeking redress for these injuries, Plaintiff Nichols, on behalf of herself and Classes

  of similarly situated individuals, bring suit under the FTSA.

                                       CLASS ALLEGATIONS

         34.     Plaintiff Nichols seeks certification of the following Classes:

         Do Not Call Registry Class: All persons in the United States whose (1) telephone numbers
         were on the National Do Not Call Registry for at least 31 days, (2) but who received more
         than one telemarketing calls from or on behalf of Defendant (3) within a 12-month period
         (4) from the four years prior to the filing of the complaint through the date of trial.

         Autodial Class: All persons in the United States who (1) received a telephonic sales call
         from Defendant, (2) using the same equipment or type of equipment utilized to call Plaintiff
         (3) since July 1, 2021.


         35.     The following individuals are excluded from the Classes: (1) any Judge or

  Magistrate presiding over this action and members of their families; (2) Defendant, their

  subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or their

  parents have a controlling interest and their current or former employees, officers and directors;

  (3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion



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  from the Classes; (5) the legal representatives, successors or assigns of any such excluded persons;

  and (6) persons whose claims against the Defendant has been fully and finally adjudicated and/or

  released. Plaintiff Nichols anticipates the need to amend the Class definitions following

  appropriate discovery.

         36.     Numerosity: On information and belief, there are hundreds, if not thousands of

  members of the Classes such that joinder of all members is impracticable.

         37.     Commonality and Predominance: There are many questions of law and fact

  common to the claims of the Plaintiff and the Classes, and those questions predominate over any

  questions that may affect individual members of the Class. Common questions for the Classes

  include, but are not necessarily limited to the following:

         (a)     Whether Defendant’s conduct violated the FTSA or TCPA; and

         (b)     whether members of the Classes are entitled to treble damages based on the

                 willfulness of Defendant’s conduct.

         38.     Adequate Representation: Plaintiff will fairly and adequately represent and

  protect the interests of the Classes, and has retained counsel competent and experienced in class

  actions. The Plaintiff has no interests antagonistic to those of the Classes, and Defendant have no

  defenses unique to the Plaintiff. The Plaintiff and her counsel are committed to vigorously

  prosecuting this action on behalf of the members of the Classes and have the financial resources

  to do so. Neither the Plaintiff nor her counsel have any interest adverse to the Classes.

         39.     Appropriateness: This class action is also appropriate for certification because the

  Defendant have acted or refused to act on grounds generally applicable to the Classes and as

  wholes, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

  of conduct toward the members of the Classes and making final class-wide injunctive relief




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  appropriate. Defendant’s business practices apply to and affect the members of the Classes

  uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect

  to the Classes as wholes, not on facts or law applicable only to Plaintiff Nichols. Additionally, the

  damages suffered by individual members of the Classes will likely be small relative to the burden

  and expense of individual prosecution of the complex litigation necessitated by Defendant’s

  actions. Thus, it would be virtually impossible for the members of the Classes to obtain effective

  relief from Defendant’s misconduct on an individual basis. A class action provides the benefits of

  single adjudication, economies of scale, and comprehensive supervision by a single court.

                                               COUNT I
                         Violation of the Florida Telephone Solicitation Act,
                                          Fla. Stat. § 501.059
                            On Behalf of Plaintiff and the Autodial Class

          42.     Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through

  41 as if fully set forth herein.

          43.     Plaintiff brings this claim individually and on behalf of the Autodial Class Members

  against Defendant.

          44.     It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

  be made if such call involves an automated system for the selection or dialing of telephone numbers

  or the playing of a recorded message when a connection is completed to a number called without

  the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).

          45.     A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

  transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

  soliciting an extension of credit for consumer goods or services, or obtaining information that will

  or may be used for the direct solicitation of a sale of consumer goods or services or an extension

  of credit for such purposes.” Fla. Stat. § 501.059(1)(i).



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          46.     Defendant failed to secure prior express written consent from Plaintiff and the Class

  Members.

          47.     In violation of the FTSA, Defendant made and/or knowingly allowed telephonic

  sales calls to be made to Plaintiff and the Class members without Plaintiff’s and the Class

  members’ prior express written consent.

          48.     Defendant made and/or knowingly allowed the telephonic sales calls to Plaintiff

  and the Class members to be made utilizing an automated system for the selection or dialing of

  telephone numbers.

          49.     As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and Class members were harmed and are each entitled to a minimum of $500.00 in

  damages for each violation. Plaintiff and the Class members are also entitled to an injunction

  against future calls. Id.

                                             COUNT II
                               Telephone Consumer Protection Act
                                   (Violations of 47 U.S.C. § 227)
                (On Behalf of Plaintiff and the National Do Not Call Registry Class)

          50.     Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through

   41 as if fully set forth herein.

          51.     The foregoing acts and omissions of Defendant and/or its affiliates, agents, and/or

   other persons or entities acting on Defendant’s behalf constitute numerous and multiple

   violations of the TCPA, 47 U.S.C. § 227, by making telemarketing calls, except for emergency

   purposes, to the Plaintiff and the Class despite their numbers being on the National Do Not Call

   Registry.

          52.     The Defendant’s violations were negligent, willful, or knowing.




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           53.     As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

    entities acting on Defendant’s behalf violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

    members of the Class presumptively are entitled to an award of between $500 and $1,500 in

    damages for each and every call made.

           54.     Plaintiff and members of the Class are also entitled to and do seek injunctive

    relief prohibiting Defendant from making telemarketing calls to numbers on the National Do

    Not Call Registry, except for emergency purposes, in the future.

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

   following relief:

           A.      Injunctive relief prohibiting Defendant from calling advertising their goods or

   services, except for emergency purposes, to numbers on the National Do Not Call Registry in the

   future or using an autodialer;

           B.      That the Court enter a judgment awarding Plaintiff and all class members

   statutory damages of $500 for each violation of the TCPA or FTSA and $1,500 for each knowing

   or willful violation;

           C.      An order certifying this action to be a proper class action pursuant to Federal Rule

   of Civil Procedure 23, establishing an appropriate Class the Court deems appropriate, finding

   that Plaintiff are a proper representative of the Class, and appointing the lawyers and law firms

   representing Plaintiff as counsel for the Class; and

           D.      Such other relief as the Court deems just and proper.

                                             JURY DEMAND

           Plaintiff Nichols requests a jury trial.




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   Dated: July 18, 2022        PLAINTIFF, on behalf of herself
                               and others similarly situated,

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